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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS



 SYSCO CORPORATION,

                Petitioner,
                                               CASE NO. 23-CV-1451
         vs.
                                               JUDGE: PACOLD
 GLAZ LLC, POSEN INVESTMENTS LP, and           MAGISTRATE JUDGE: FUENTES
 KENOSHA INVESTMENTS LP,

                Respondents.



     BRIEF AMICUS CURIAE OF THE CHAMBER OF COMMERCE OF THE
  UNITED STATES OF AMERICA IN SUPPORT OF PETITION TO VACATE THE
                         ARBITRAL AWARD



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                                  INTEREST OF AMICUS CURIAE

       The U.S. Chamber of Commerce is the world’s largest business organization.                The

Chamber represents approximately 300,000 direct members and indirectly represents the interests

of more than three million businesses and professional organizations of every size, in every

industry sector, from all across the country. An important function of the Chamber is to represent

the interests of its members in matters before the courts, Congress, and the Executive Branch. To

that end, the Chamber regularly files amicus curiae briefs in cases, such as this one, that raise

issues of concern to the nation’s business community, including briefs in federal district courts.

See, e.g., Notification of Docket Entry, Baumeister v. Exelon Corp., No. 21-6505 (N.D. Ill. Mar.

11, 2022), ECF No. 44; Notification of Docket Entry, Barcenas v. Rush Univ. Med. Ctr., No. 22-

366 (N.D. Ill. Apr. 4, 2022), ECF No. 38.

       The Chamber and its members have a strong interest in this case. The Chamber’s members

are involved in all manner of business litigation that will be, and has already been, impacted by

the increase in third-party litigation funding. As evidenced by this case, third-party litigation

funding can undermine the attorney-client relationship and makes settlement of lawsuits more

difficult, expensive, and inefficient. It can also pose national-security threats to businesses and

the people they employ and serve. Here, the Tribunal has authorized a funding arrangement that

gives Burford Capital complete control over Sysco’s ability to settle its claims. The Award

prevents Sysco from agreeing to the settlement offer it has in hand and is ready to sign, forcing

Sysco to instead litigate through trial and appeal against its wishes. If the Tribunal’s Award, and

the interpretation of the funding agreement on which it rests, is upheld, litigation funders will seek

similar control in other cases.
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                                         INTRODUCTION

       The Court should grant Sysco’s petition to vacate the award. Although the court’s power

to vacate an arbitration award is “extremely limited,” Monee Nursery & Landscaping Co. v. Int'l

Union of Operating Engineers, Loc. 150, AFL-CIO, 348 F.3d 671, 675 (7th Cir. 2003), the grounds

for vacatur are nevertheless present here. The Tribunal’s decision gives Burford Capital, a third-

party litigation funder, an essentially unrestricted right to control the outcome of the litigation that

it has invested in. Emboldened by the Tribunal’s Award, Burford has demanded that Sysco

withdraw the stay motions it has filed in the underlying antitrust litigations and initiate an entirely

new lawsuit against a number of Sysco’s key suppliers. Amended Petition ¶ 70. Burford should

not be allowed to force Sysco to litigate indefinitely, potentially damaging Sysco’s business

relationships and subjecting Sysco and the courts to costly litigation that no party wishes to pursue.

       This case illustrates the serious problems that third-party litigation funding can cause.

First, third-party litigation funders often have different interests than the parties in the case, and

this divergence of interests naturally incentivizes funders to take control of litigation in order to

maximize the return on their investment. Here, Burford has done just that through the Tribunal’s

Award, which blocks Sysco from settling its claims in the antitrust litigation despite Sysco’s

readiness to do so. Second, the lack of transparency and regulation of third-party litigation funding

creates a conflict-of-interest minefield. Litigation funders are repeat players who may invest in a

whole portfolio of cases with law firms or across industries. As lawyers and law firms develop

more significant relationships with funders than they have with any individual client, the lawyer’s

ability to provide clients candid and unconflicted advice will be strained. Finally, litigation

funding agreements are generally kept secret. This poses serious national security risks, as foreign

companies or governments could fund litigation in order to exploit commercial disputes between




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U.S. companies or gain access to proprietary information through discovery.

        The litigation funding market is already worth billions and is growing rapidly, and experts

estimate that annual investment could reach $31 billion by 2028.2 As the market expands, the

problems illustrated by this case will only become more severe. The Court should grant Sysco’s

petition to vacate the Tribunal’s Award and prevent Burford from taking over this litigation against

the parties’ wishes.

                                           ARGUMENT

I.      Vacatur of the Arbitral Award Is Warranted Under the Unusual Facts of This Case.

        The Federal Arbitration Act (“FAA”) establishes a national policy favoring arbitration.

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220 (1987). As a corollary to this federal

policy, judicial review of arbitral awards “is extremely limited.” Moseley, Hallgarten, Estabrook

& Weeden, Inc. v. Ellis, 849 F.2d 264, 267 (7th Cir. 1988) (quotation marks omitted); see also

Monee Nursery, 348 F.3d at 675. This narrow standard reflects the fact that arbitration is not a

system of “‘junior varsity trial courts,’” where arbitral decisions are routinely subject to review in

federal courts, “but instead is a contractual agreement by the parties to settle their disputes in a

nonjudicial forum.” Williams v. RI/WFI Acquisition Corp., No. 06 C 2103, 2009 WL 383420, at

*2 (N.D. Ill. Feb. 11, 2009). Thus, a “limited standard of review is necessary to preserve

arbitration’s ‘benefits of reduced delay and expense.’” Wilson v. Sterling Foster & Co., No. 98 C

2733, 1998 WL 749065, at *2 (N.D. Ill. Oct. 15, 1998). If courts were routinely permitted to

review the merits of arbitration awards, arbitration would become “merely an added preliminary




2
 Michael E. Leiter & John H. Beisner et al., A New Threat: The National Security Risk of Third
Party Litigation Funding, U.S. Chamber of Commerce Institute for Legal Reform at 4 (Nov. 2022),
https://instituteforlegalreform.com/wp-content/uploads/2022/11/TPLF-Briefly-Oct-2022-RBG-
FINAL-1.pdf (“A New Threat”).


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step to judicial resolution rather than a true alternative.” Moseley, 849 F.2d at 267 (quotation

marks omitted).

         Nevertheless, the FAA provides for limited circumstances in which a court may vacate an

award. See 9 U.S.C. §§ 10, 11. Such grounds include “where the arbitrators exceeded their

powers,” id. § 10(a)(4), such as where “the arbitrator deliberately disregards what he knows to be

the law,” Renard v. Ameriprise Fin. Servs., Inc., 778 F.3d 563, 567 (7th Cir. 2015) (quotation

marks omitted), or where the arbitrator’s interpretation of the contract violates explicit, “well

defined and dominant” public policy. Titan Tire Corp. of Freeport, Inc. v. United Steel, Paper &

Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union, 734 F.3d 708, 716 (7th

Cir. 2013) (quoting W.R. Grace & Co. v. Local Union 759, 461 U.S. 757, 766 (1983)).

         Although vacatur of arbitration awards should be extraordinarily rare, it is warranted in

this instance. The Tribunal’s injunction is preventing Sysco from entering into ready-to-sign

settlement agreements and forcing Sysco to take its claims—unwillingly—through trial and

appeal, no matter the injurious effect on the rest of Sysco’s business relationships or impact on the

courts. The Tribunal’s interpretation of Burford’s litigation funding agreement with Sysco gives

litigation funders the right to force parties to go to trial in the hopes of achieving windfall

judgments, even when the parties would rather settle. Although arbitrators have broad authority

to resolve disputes, they lack the authority to manipulate ongoing federal court proceedings by

forcing parties to continue to litigate against their will in this manner. Federal courts, not

arbitrators, manage federal court litigation. For the reasons explained in the petition, this is the

highly unusual case where “the arbitrators exceeded their powers.” 9 U.S.C. § 10(a)(4).

II.      Third-Party Litigation Funding Poses Several Policy Concerns.

         Third-party litigation funding is troubling in several respects. First, it may transfer control

over litigation from the client to the funder, to the detriment of plaintiffs, defendants, and the


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courts. Second, it impedes the attorney-client relationship by creating conflicts for lawyers who

have dual loyalties. Third, it threatens national security by potentially allowing anonymous foreign

interests to control U.S. litigation to achieve their strategic goals.

              A. Third-Party Litigation Funding Prevents Clients from Directing the
                 Outcome of Their Cases.

        The core problem with allowing third parties to take a stake in the outcome of legal

proceedings is that the funder’s goal of maximizing profit displaces the lawyer’s independent

judgment.3 Given the divergent interests of funders and lawyers, a funder with a stake in a lawsuit

will “naturally” seek “to control the lawsuit and, as a result, the lawyers being funded by that third

party will be controlled by that third party, sometimes to the detriment of the actual party in

interest.”4

        Plaintiffs often seek to recover as much money as possible in litigation, but not always. A

party may also pursue litigation to obtain non-monetary relief, achieve a policy or procedural

change, advance a point of law, or simply to see justice done. A party’s decision regarding how

to pursue the matter—or whether to pursue the matter at all—may be driven by such nonpecuniary

motives. Lawyers have a duty to abide by the client’s decisions concerning the objectives of the

representation.5 Yet, the presence of a third-party litigation funder exerts enormous pressure on

attorneys to act in the funder’s interest and obtain the highest financial award possible.

        Another example of when the client’s and the funder’s interests may diverge is during

settlement discussions. Because funders seek to maximize the return on their investment, when



3
  See William W. Large, Selling Out: The Dangers of Allowing Nonattorney Investment in Law
Firms, U.S. Chamber of Commerce Institute for Legal Reform at 32 (Jan. 2023), https://institute
forlegalreform.com/wp-content/uploads/2023/01/Selling-Out-The-Dangers-of-Allowing-
Nonattorney-Investment-in-Law-Firms.pdf (“Selling Out”).
4
  Id. at 33 (quotation marks omitted).
5
  See ABA Model Rule 1.2.


                                                   5
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faced with a settlement offer, the funder may prefer to risk going to trial on the hopes of achieving

a substantial, but unlikely verdict.6 The client might prefer to resolve the claim early and for a

sum certain, rather than risk the time and hassle of pursuing a claim with an uncertain outcome.

Indeed, aside from the risk of losing, the client bears all the additional burden of litigation—time

spent participating in discovery and other aspects of the litigation process, possible breakdown of

business relationships, and potentially negative press coverage—while the funder risks nothing

but the loss of its investment. It is not surprising, given the misalignment of incentives, that an

executive of a prominent litigation funding company acknowledges that litigation funding

“make[s] it harder and more expensive to settle cases,” presumably because the funders prefer to

take cases to trial more often than the parties otherwise would.7

          Making matters worse, although lawyers are required to avoid (and disclose) conflicts of

interest, litigation funders have no such obligation. Funders may invest in multiple claims,

including on both sides of a legal issue, without the client’s knowledge. A funder may therefore

insist on a client taking a legal position in one case that may harm that client’s interests so as to

maximize revenue for its portfolio of cases, or delay settlement in one case to increase the funder’s

settlement leverage in other cases. Clients may be forced to weaken their legal positions—or even

intentionally throw cases—because someone else is pulling the purse strings.

          Although litigation funders claim that their “practice” is not to interfere with the

management of the cases they invest in, Amended Petition ¶ 23, contrary examples abound. In

this case, for example, the parties’ original funding agreement includes a “nuclear option” that

allows Burford to seize complete control over Sysco’s claims (including by hiring and firing




6
    Selling Out, at 36.
7
    Id.


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Sysco’s counsel). Amended Petition ¶ 71. Another Burford funding agreement “provided control

to the Funders” by giving it the opportunity to approve of plaintiffs’ choice of counsel.8 The

execution of engagement agreements between the claimants and Burford’s preferred law firm—a

firm with “close ties” to Burford—was a “condition precedent to the funding.”9

        Other litigation funders enter into similarly abusive arrangements. In Boling v. Prospect

Funding Holdings, LLC, 771 F. App’x 562 (6th Cir. 2019), the court held that a litigation funding

agreement between Boling (the litigant) and Prospect Funding (the funder) was invalid as against

public policy because it “effectively gave Prospect substantial control over the litigation.” Id. at

579. Among other things, the agreements “limited Boling’s right to change attorneys without

Prospect's consent, otherwise Boling would be required to repay Prospect immediately.” Id. at

580. It also gave Prospect the “right to examine” case files and even “Boling’s medical records.”

Id. at 579 n.13.    Similarly, in White Lilly, LLC v. Balestriere PLLC, a litigation funder

“affirmatively asserted that it had the right to exercise control over litigation in which it had

acquired an interest.”10 The funder alleged that “its funding agreement required that specified

counsel,” which had an “existing relationship” with the funder,” “serve as one of the plaintiff’s

counsel in the funded lawsuit.”11 The funding agreement also required that the litigant “obtain

prior approval for expenses in excess of $5,000.”12 Remarkably, the funder alleged that it had

been ”assured that the ‘proposed litigation’ would settle ‘quickly’”13—an allegation illustrating

how funders perceive themselves as holding the right to control settlement decisions. Finally, in




8
  A New Threat, at 6 (quotation marks and alteration omitted).
9
  Id.
10
   A New Threat, at 7.
11
   Id.
12
   Id.
13
   Id.


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Gbarabe v. Chevron Corp., the funding agreement required the plaintiff to use funder-nominated

lawyers and obtain funder approval before engaging co-counsel or expert witnesses.14 The funding

agreement also required that counsel “give reasonable notice of and permit the funder, where

reasonably practicable, to attend as an observer at internal meetings . . . and send an observer to

any mediation or hearing related to the Claim.”15 As these examples show, funders will seek to

influence the strategic decisions of the litigants they have funded, whether by controlling selection

of counsel, experts, or even attending mediations.

            B. Third-Party Litigation Funding Erodes Clients’ Right to Conflict-Free
               Counsel.

         Third-party litigation funding also erodes the client’s right to non-conflicted counsel and

threatens the confidentiality of lawyer-client relationships. When the nonlawyer “share[s] in the

fee, there is no way to assure that the ‘twin pillars of confidentiality and conflicts of interest are

observed by the nonlawyer.’”16

         In recent years, litigation finance firms have expanded their practice from providing third-

party financing to individual plaintiffs to providing the financing directly to law firms.17 Under

this approach, the funders are “repeat players,”18 investing in a portfolio of cases rather than a

single lawsuit. As law firms develop more significant relationships with funders than with any

individual client, lawyers’ ability to zealously represent their clients may be diminished. For

example, the more investment a funder has in a law firm’s cases or overall operations, the more

likely it is that the attorneys will succumb—whether consciously or subconsciously—to the




14
   Id. at 8.
15
   Id. (quotation marks omitted)
16
   Selling Out, at 18 (quotation marks omitted).
17
   A New Threat, at 4.
18
   Id. at 9 (citation omitted).


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financial incentive to subordinate the needs of individual clients in favor of the interests of the

investor. “In short, the closer the relationship between funders and law firms becomes, ‘funders’

interests will probably exert more pull than those of the clients.’”19 This dynamic can also occur

even if the funder has only client-side agreements if those clients are represented by the same law

firm. By expanding the funder and lawyers’ financial relationship, third-party litigation funding

dilutes lawyers’ ability to zealously represent their clients20 and creates a minefield of conflicts of

interest.

         In addition, the presence of a third-party funder may erode the confidentiality of lawyer-

client communications. Third-party funding agreements often have requirements that lawyers

share information and case developments with the funder. While lawyers have a duty to keep

client information confidential, doing so may become increasingly difficult as funders seek to

control day-to-day operations of a case. This concern is heightened when the investor in the

litigation is a foreign company or sovereign wealth fund that may have an interest in obtaining

sensitive business information from U.S. companies, particularly in sensitive industries.

            C. Third Party Litigation Funding Threatens U.S. National Security.

         The litigation funding market lacks transparency. Investors in many cases remain shielded

from public view. Courts are generally unaware of litigation funding arrangements, even though

their use has increased substantially, because third-party litigation funding agreements need not be

disclosed in almost all jurisdictions and are rarely revealed to the courts or the parties.21



19
   Id. (quotation marks omitted)
20
   ABA Model Rule 1.3 – Comment (“A lawyer must also act with commitment and dedication to
the interests of the client and with zeal in advocacy upon the client's behalf.”).
21
   A New Threat, at 5. A handful of courts (in Wisconsin, the District of New Jersey, the District
of Delaware, and the Northern District of California) have adopted third-party litigation funding
disclosure requirements. See, e.g., Wis. Stat. § 804.01(2)(bg) (2018); D.N.J. L. Civ. R. 7.1.1;
Standing Order for all Judges of the Northern District of California, Contents of Joint Case


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       Accordingly, foreign individuals, companies, and sovereign wealth funds, which are state-

owned investment funds comprised of money generated by various governments, can invest in

litigation without disclosing their involvement to the parties or the courts. As one commenter has

noted, “hedge funds, private equity and sovereign wealth funds are piling billions into the outcome

of high stakes court cases at a faster rate than ever before.”22 Indeed, Burford has not been shy

about its relationships with sovereign wealth funds, publicly touting its relationship with a

sovereign wealth fund strategic partner.23

       Allowing foreign governments to invest surreptitiously in American lawsuits could allow

those governments to exert significant influence over the American legal system.             Foreign

governments could encourage and exploit commercial disputes to advance their own interests.

Moreover, foreign financing risks overburdening U.S. courts with frivolous and vexatious lawsuits

because a foreign government or company may be perfectly willing to fund an unsuccessful

lawsuit—and refuse to settle—in order to obtain some other benefit, such as advancing its strategic

interest or gaining access to sensitive information.

       A leading expert on third-party litigation funding recently warned that “China’s Sovereign

Wealth Fund [could] fund[] a suit against an American company in a sensitive industry such as



Management Statement, § 18, https://www.cand.uscourts.gov/wp-content/uploads/judges/
Standing_Order_All_Judges_1.17.23.pdf. In addition, Chief Judge Colm F. Connolly of the
District of Delaware recently issued a standing order requiring “[a] brief description of the nature
of the financial interest” held by any non-party investor in the matters before him. Standing Order
Regarding Third-Party Litigation Funding Arrangements, § 1(c), https://www.ded.uscourts.gov/
sites/ded/files/Standing%20Order%20Regarding%20Third-Party%20Litigation%20Funding.pdf.
Besides the requirements in these courts, third-party litigation funders are not, at present, required
to disclose their participation in litigation.
22
   Selling Out, at 42.
23
   Press Release, Burford, Burford Extends Life of Sovereign Wealth Fund Arrangement and
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military technology” and, in the process, “obtain[] highly confidential documents containing

proprietary information . . . from the American defendant-corporation.”24 A foreign adversary

could also use litigation funding to exploit commercial disputes between U.S. companies in order

to advance its domestic industries.25 In addition, a foreign government could fund litigation in an

attempt to influence domestic U.S. politics. The National Counterintelligence and Security Center

has warned that “Russia and China operate globally, use all instruments of national power to target

the United States, and have a broad range of sophisticated intelligence capabilities.”26 There is no

reason to think that adversarial foreign governments would stop short of exploiting litigation

financing in order to advance their strategic national interests.

III.     The Tribunal’s Interpretation of the Funding Agreement in this Case Raises Every
         One Of These Concerns.

         This case illustrates every concern described above. First, the interpretation of the funding

agreement advanced by Burford and accepted by the Tribunal gives Burford complete control over

whether Sysco may settle its claims in the antitrust litigation, despite the fact that Burford is not

the party in interest and has not been assigned Sysco’s claims. Second, Burford’s relationship with



24
   A New Threat, at 14 (quotation marks omitted); National Counterintelligence and Security
Center, National Counterintelligence Strategy of the United States of America 2020-2022, at 1
(Jan. 7, 2020), https://www.icitech.org/post/ncsc-the-national-counterintelligence-strategy-of-the-
u-s-2020-2022; see also Office of the Director of National Intelligence, Annual Threat Assessment
of the U.S. Intelligence Community, at 6-7 (Feb. 2022), https://www.dni.gov/files/
ODNI/documents/assessments/ATA-2022-Unclassified-Report.pdf. In addition, Senator John
Kelly and a group of state attorneys general have separately written letters to the Justice
Department raising concern about the growing national security threat posed by foreign investment
in litigation funding. See Letter from John Kennedy, U.S. Senator, to Merrick Garland, Attorney
General and John Roberts (Jan. 6, 2023), https://www.kennedy.senate.gov/public/
_cache/files/0/7/077acc52-6622-453b-b9a5-bbecd358e136/32C50A661400A5B670DC1D
48B8D75E73.letter-to-ag-garland-cheif-justice-roberts.pdf; Letter from Christopher Carr,
Georgia Attorney General et al., to Merrick Garland, Attorney General et al. (Dec. 22, 2022),
https://www.tn.gov/content/dam/tn/attorneygeneral/documents/pr/2022/pr22-55-letter.pdf.
25
   Selling Out, at 2.
26
   A New Threat, at 10.


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Sysco’s former counsel highlights the conflict of interest challenges that third-party litigation

funding poses, even for sophisticated parties. Finally, the respondents in this action—a group of

investment firms controlled by Burford—have not been transparent about whether any have other

partners, investors, or corporate parents that would defeat diversity jurisdiction. This lack of

transparency obfuscates any foreign ownership or influence that could be present.

        A. Burford’s Interpretation of its Funding Agreement with Sysco Gives It the Right
           to Control Settlement.

        There is a strong federal policy in favor of voluntary resolution of disputes. Miksis v.

Evanston Twp. High Sch. Dist. #202, 235 F. Supp. 3d 960, 987 (N.D. Ill. 2017); see also Howell

v. Motorola, Inc., 633 F.3d 552, 561 (7th Cir. 2011) (recognizing the “importance of the federal

policy in favor of voluntary settlement of claims”). Moreover, it is the client that is supposed to

control the decision to settle, not the lawyer or funder. See Veninga v. Fmali Herb Co., No. 97 C

1683, 1997 WL 598143, at *3 (N.D. Ill. Sept. 17, 1997) (“[I]f a lawyer attempts to draw a contract

where the clients are prevented from settling their own suit, the contract is void as against public

policy.” (citing Ill. R. Prof’l Conduct 1.2(a))). As highlighted above, the possibility that a litigation

funder could control the decision to settle a case instead of the client frustrates this policy, because

litigation funders would often prefer to proceed to trial, even against the client’s wishes.

        That is exactly the situation here. Sysco and the defendants want to settle their dispute,

and they negotiated arms’ length settlements to that end. Amended Petition ¶ 18. However,

because the settlement amount was apparently unsatisfactory to Burford, Burford sought, and

received, the Award from the Tribunal, which blocks Sysco from entering into the proposed

settlement agreements and forces Sysco to continue litigating its claims when it otherwise would

not do so. Amended Petition ¶¶ 31, 40, 65. The Tribunal’s Award is, essentially, forcing Sysco

to continue to litigate a case against its will—an outcome that imposes unnecessary burdens on



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both sides of the litigation, not to mention the courts.

       B. The Relationship Between Burford and Sysco’s Counsel, Boies Schiller, Illustrates
          the Minefield of Conflicts Created by Third Party Litigation Funding.

       An additional concern with third-party litigation funding is the erosion of a client’s ability

to obtain conflict-free counsel and maintain confidentiality. This challenge is illustrated perfectly

by Burford’s larger relationship with Boies Schiller. As Sysco explains, Sysco’s former outside

counsel, Scott Gant of Boies Schiller, has a “broad economic relationship” with Burford, “as Mr.

Gant also represents Burford both directly and indirectly in the Antitrust Litigations.” Amended

Petition ¶ 28. Boies Schiller is also representing at least one other plaintiff in the antitrust

litigations in whose claim Burford has also invested. Id. Indeed, the full extent of Mr. Gant’s

work with Burford has never been disclosed to Sysco. Id.

       This kind of broad financial relationship between funder and client carries risks, especially

when the relationship between the funder and the client breaks down, as it did here. As illustrated

by Petitioner, after Burford advised Sysco that it objected to the proposed settlements, Burford

called Sysco’s counsel—without notifying or informing Sysco—to discuss the settlement proposal

and the possibility that Burford would have to sue Sysco for breach of the funding agreement. Id.

¶ 32. According to Burford’s summary of the call, Mr. Gant advised Burford to reject the proposed

settlements and suggested that Burford may have a claim against Sysco, despite Mr. Gant’s duty

to represent Sysco’s interests, not Burford’s. Mr. Gant never disclosed the call to Sysco, and Sysco

did not learn about the call until Burford produced documents during the arbitration months later.

Id. ¶¶ 32, 34. As Petitioner argues, the call “raises serious concerns about whether Boies Schiller

violated its ethical obligations and fiduciary duties to Sysco,” including duties to provide candid

and unconflicted advice, preserve confidential information, and perform services without

representing different interests. Id. ¶ 38.



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          C. Burford’s Opaque Ownership Structure Illustrates How Foreign Adversaries
             Could Manipulate U.S. Litigation Through Third-Party Funding.

          As described above, national security experts are increasingly concerned that foreign

companies or governments could exploit third-party litigation funding to advance their strategic

interests. A particular challenge in this sphere is the lack of transparency for litigation funding:

there is no requirement, in most U.S. courts, that a party disclose whether a suit is funded by a

third party.

          Burford’s own corporate structure illustrates the point. The respondents in this case are

Glaz LLC, Posen Investments LP, and Kenosha Investments, LP, all of which have Burford Capital

as their only direct or indirect partner and all of which are controlled by Burford. Amended

Petition ¶¶ 3-6. Sysco “has made reasonable, good faith efforts to investigate whether Glaz, Pozen,

and Kenosha are citizens of either Delaware or Texas,” and “repeatedly asked [r]espondents to

identify any other members or partners” in order to determine whether diversity jurisdiction exists.

Id. ¶ 12. Burford later sent Sysco a letter asserting that, “three levels above one of the Respondents,

Kenosha,” the member or partner was a Texas citizen. Id. Burford did not identify the Texas

investor (or even disclose whether the investor was a corporation, individual, or another

partnership), nor did it identify any other investors in the other respondents or Burford itself. Id.

          As this situation illustrates, the ownership and structure of litigation funding firms is

extremely opaque. Not only do “most judges have no idea whether [third-party litigation funding]

is at play in litigation they are overseeing,”27 courts might have no idea who the funder really is.

Foreign governments and sovereign wealth funds can take advantage of this lack of transparency

to invest in litigation that suits their strategic interests while remaining anonymous.




27
     A New Threat, at 5.


                                                  14
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         This case illustrates how litigation funding creates conflicts of interests, interferes with

attorney-client relationships, and allows opaque interests to control litigation. The Court should

vacate the arbitration award and allow Sysco to make its own litigation decisions.

                                          CONCLUSION

         For the foregoing reasons, the Court should grant Sysco’s petition and vacate the Tribunal’s

Award.




  Dated: March 27, 2023                                       Respectfully submitted,




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